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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,                                   Case No. 23-cr-20152

v.
                                                              HON. MARK A. GOLDSMITH
JACK EUGENE CARPENTER, III,

            Defendant.
________________________/

                          OPINION & ORDER
           FINDING DEFENDANT NOT COMPETENT TO STAND TRIAL

         Defendant Jack Eugene Carpenter, III has been indicted on a charge of transmitting a

communication in interstate commerce containing a threat to injure another person, in violation of

18 U.S.C. § 875(c). Indictment at 1–2 (Dkt. 15). The threat was a post on Twitter stating “I’m

heading back to Michigan now threatening to carry out the punishment of death to anyone that is

jewish [sic] in the Michigan govt if they don’t leave, or confess.”1 Id.

         The Government moved under 18 U.S.C. § 4241 for a psychiatric or psychological

examination to determine whether Carpenter is competent to stand trial. See Gov. Mot. at 1–2

(Dkt. 20). The Court granted the motion and a forensic psychologist conducted a court-ordered

examination of Carpenter. The psychologist found that Carpenter suffers from delusional disorder

and is not competent to stand trial.

         The Court held a competency hearing on December 11, 2023, at which the psychologist

and Carpenter both testified at length. See 12/11/23 Hr’g Tr. at 4–94 (Dkt. 92). After the hearing,




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    Twitter is now known as X.
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both parties submitted proposed findings of fact and law. The Court held a second competency

hearing on April 4, 2024, and invited the parties to submit supplemental briefs, which the

Government did. See Gov. Suppl. Br. (Dkt. 110).

       For the reasons that follow, the Court finds that Carpenter is not fit to stand trial and

should be committed to the custody of the Attorney General of the United States for further

evaluation and treatment.

                                     I.      BACKGROUND

       According to the Government, Carpenter’s legal issues began with a series of tweets he

posted in February 2023. Gov. Mot. at 2. Carpenter’s alleged tweets stated that he was traveling

back to Michigan and included threats to kill Jewish members of the Michigan government and

any law enforcement officers who tried to stop him. Id. A selection of Carpenter’s relevant tweets

includes the following:

          February 15, 2023, 07:54:26: @MichStatePolice @WSheriff “I’ll be coming back to
           Michigan, still driving with expired plates. You may want to let everyone know, and
           Wayne County sheriff as well, any attempt to subdue me will be met with deadly force
           in self defense. I’ll test out that that whole no weapon”

          February 17, 2023, 14:36:391: “Within the next 48 hours I will be back in Michigan.
           Whether I have to sell more silver or whether my mother, who participated in these acts
           against me, sends money to get back there after confessing her role to me.”

          February 17, 2023, 14:39:51: “Any Jewish person holding a public office on my land
           after that time is subject to immediate punishment for their participation in an unlawful
           war of aggression using a biological weapon against me. You may leave, confess and
           resign to live a private life or”

          February 18, 2023, 03:00:34: @claushetting @DrTedros @POTUS @FBI @CIA
           @ODNIgov @ADL @Israel @masonicnetwork “I’m heading back to Michigan now
           threatening to carry out the punishment of death to anyone that is jewish in the
           Michigan govt if they don’t leave, or confess, and now that kind of a problem, because
           I can Legally do that, right?”




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Id. at 2–3. The FBI obtained an arrest warrant for Carpenter on February 18 and arrested him that

same day in Texas. Id. at 3. Agents searched Carpenter’s car and found seven guns, including a

military-style rifle, and hundreds of rounds of ammunition. Id. at 3–4.

       The Government contends that, after his arrest, Carpenter told officers that he believes

Israel is at war with the United States and is using the COVID-19 vaccine as a biological weapon.

Id. at 5. He believed his threats were justified because it is lawful to use deadly force in Michigan

against those who have committed a felony and are subject to arrest. Id. at 4. Carpenter also

claimed to be a sovereign citizen, having seized nine square miles of land in Michigan and created

his own government.2 Id. at 5.

       Based on Carpenter’s social media posts and statements made to law enforcement, the

Government moved under 18 U.S.C. § 4241 for the Court to commit Carpenter to the custody of

the Attorney General for a psychiatric or psychological examination to determine whether he is

competent to stand trial. Id. at 1. The Court granted the Government’s motion, finding that the

Government had identified “several incidents of irrational behavior exhibited by Carpenter that

create reasonable cause to doubt his mental competency.” See 6/22/23 Order at 2 (Dkt 43). The

Court ordered a psychiatrist or psychologist employed by the United States be appointed to

examine the mental condition of Carpenter and to file a written report with the Court. Id. at 5.

       Dr. Ryan Nybo, a forensic unit psychologist with the Bureau of Prisons, was assigned to

conduct a court-ordered evaluation of Carpenter to assess his present competency. 12/11/23 Hr’g



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  “Sovereign citizens believe that they are exempt from the jurisdiction of any legitimate court—
state or federal—and often file legal documents to free themselves from the yoke of federal
citizenship.” Powell v. Michigan, No. 22-10816, 2023 WL 2154954, at *1 (E.D. Mich. Jan. 24,
2023), report and recommendation adopted, No. 22-10816, 2023 WL 2145490 (E.D. Mich. Feb.
21, 2023) (punctuation modified).


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Tr. at 5, 17. Dr. Nybo received his license to practice psychology in 2007 after receiving his

doctorate degree and completing a 2,000-hour predoctoral internship. Id. at 5. As a forensic unit

psychologist, Dr. Nybo conducts court-ordered forensic evaluations for United States District

Courts throughout the country. Id. at 9. Dr. Nybo has been in his current role for nearly 14 years

and has completed roughly 350 competency evaluations and 100 criminal responsibility

evaluations. Id. at 11. He has provided testimony nearly 50 times, both as a defense and

prosecution witness, and has never failed to qualify as an expert to give testimony. Id. at 9, 15.

After conducting voir dire examination of Dr. Nybo, the defense did not object to Dr. Nybo’s

qualification as an expert in the field of forensic psychology. Id. at 14–16.

        As part of his evaluation, Dr. Nybo met with Carpenter in person twice, first for a forensic

intake meeting that lasted roughly 45 minutes, then for a follow-up interview that lasted roughly

2 hours and 45 minutes. Id. at 21–23. Dr. Nybo attempted to meet with Carpenter again, but

Carpenter refused. Id. at 23–24. In addition to these interviews, Dr. Nybo reviewed the criminal

complaint, the Government’s supplemental exhibits regarding psychiatric or psychological

examination (Dkt. 41), and various pro se motions filed by Carpenter. Id. at 26. In addition,

despite refusing to meet with Dr. Nybo again, Carpenter emailed Dr. Nybo on “almost a daily

basis.” Id. at 24.

        Dr. Nybo testified that there is no “typical” amount of time he spends in person with

defendants; he has rendered opinions where the defendant has refused to meet with him

whatsoever, as well as opinions where he has met with the defendant for more than 15 hours. Id.

at 25. Dr. Nybo admitted that he was not able to complete a full evaluation of Carpenter, but he

believes he was nonetheless able to render an opinion regarding competency. Id.




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       Carpenter provided Dr. Nybo with a “limited account” of his personal history, which the

Court summarizes here. See Nybo Competency Evaluation at 3. Prior to COVID-19, Carpenter

worked as an IT specialist at the University of Michigan. Id. at 2. Carpenter had no history of

medical or psychological concerns, but he did have a history of emotional abuse. Id. at 6.

According to Dr. Nybo, Carpenter’s life “spiral[ed] out of control” after the emergence of the

COVID-19 pandemic. Id. at 2. Carpenter believed that Pfizer, the maker of a COVID-19

vaccination, “was a nation state with military bases and was either associated or controlled by [the]

Israeli government who had also infiltrated the United States government.” Id. Carpenter began

“expos[ing]” Pfizer on social media and came to believe that Pfizer was targeting him and viewing

him as a “considerable threat.” Id. Carpenter ultimately lost his job at the University of Michigan

for refusing the COVID-19 vaccine. Id. at 2, 4.

       Carpenter claims that he used his IT knowledge to examine the source code of a QAon

website, which confirmed that “Pfizer, with its ties to Israel, had infiltrated the United States

government” and developed a “character assignation [sic]” plot against Carpenter. Id. at 2.

Carpenter “grew fearful that his life was in danger.” Id. He believed that Pfizer planted posts

online attributed to him as part of a plan to kill him and make it look like he was a sex offender

who committed suicide. Id. Following this discovery, Carpenter left Michigan and began traveling

around the country, believing that he needed to keep moving to remain safe. Id. Carpenter wanted

the police to “open an investigation into what was happening to him,” so he drove around with

expired license plates and voluntarily presented at police stations, but he was advised that law

enforcement could not help him. Id. at 2–3. After the FBI became aware of Carpenter’s tweets

threatening Jewish officials in Michigan, they located and arrested Carpenter in Texas. Id. at 4.




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        According to Dr. Nybo’s findings, “Carpenter harbors a complex delusional system that

involves a belief he is being individually targeted for exposing that the COVID-19 vaccine was

being used illegally,” and “Carpenter is preoccupied with these beliefs and has no insight into his

mental illness.” Id. at 7. Dr. Nybo reported that “while suspicious and guarded,” Carpenter

nevertheless “almost spoke nonstop about the vaccine, being individually targeted for refusing the

vaccine, and those whom he felt were responsible.” Id. at 6. Dr. Nybo found it difficult to redirect

Carpenter, “as he was fixated on grandiose and persecutory delusional ideas.” Id.

        Ultimately, Dr. Nybo found that Carpenter meets the diagnostic criteria for delusional

disorder, grandiose and persecutory types, and recommended that Carpenter undergo formal

competency restoration procedures at a federal medical center. Id. at 7, 9.

        In addition to the information Carpenter shared during his interviews with Dr. Nybo, the

record before the Court includes more than 50 pro se motions and letters that Carpenter has filed

since March 2023.3 Finding that Carpenter was attempting to proceed in a hybrid manner (i.e.


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  These letters and motions further illustrate Carpenter’s bizarre thinking. For example, in
various documents, Carpenter states the following:

       “[The U.S. President] got outwitted in an international arms issue where he ceded U.S. land
        to a random person who simply used email and a telephone. The DOJ is weaponized, and
        this is simply a smear campaign. Something for the TV to use to get people to emotively
        dismiss me without listening.” 7/18/23 Letter at PageID.265 (Dkt. 53) (punctuation
        modified).

       (Addressed to “Mr. Secretary of Defense”): “I see you. This couldn’t happen without you.
        Confess, resign, and live a private life. I know you are following this case. Are you the
        one ‘following orders’? Or are you the one giving them? We shall see. ‘When the dragon
        realized that he had been thrown down to earth, he pursued the woman who had given birth
        to the male child . . . .’ The government I created is God’s law on earth. It will rule all
        nations of the earth with an iron rod.” 11/30/23 Letter at PageID.391–392 (Dkt. 72).

       “It’s important to note that I was given the ‘key of David’ or the perfect scenario to declare
        sovereignty, to open the door’ to found a nation on Oct. 25th & 27th, 2022 during a solar
        eclipse, and the Tarot readings said that I would try something that would at first appear as
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both through counsel and pro se by way of his own submissions), the Court initially struck

Carpenter’s filings. See 5/24/23 Order (Dkt. 35). Carpenter then raised an issue of ineffective

counsel, see 6/14/23 Letter (Dkt. 40), and filed a motion to remove counsel, see 11/13/23 Mot. to

Remove Counsel (Dkt. 64). The Court stopped striking Carpenter’s filings while these issues, and

the Court’s determination regarding competency, remained pending.

       Carpenter wishes to remove his attorney, Jean Pierre Nogues, III, because Nogues refuses

to argue that the Court lacks personal jurisdiction over Carpenter. Central to that defense is

Carpenter’s claim that he was forced to create his own sovereign named “The Kingdom of Heaven”

because the State of Michigan refused to recognize that requiring the use of an experimental

medication, the COVID-19 vaccine, was a crime. See Gov. Suppl. Exs. at PageID.205 (Dkt. 41).




       if it failed, but I would realize I was given a gift. Then I went home and wrote the
       declaration of sovereignty while going through the motions required to seize land under
       the Law of War chapter 11.3 as adopted by Congress.” Id. at PageID.392–393.

      “Are people working in a coordinated effort to discredit me? Well, it’s pretty obvious they
       are. Even the Marshals saw it. Because I am right. People loyal to a foreign government
       released a biological weapon to launder money through Israeli controlled corporations,
       stealing from the American Taxpayer. That was an act of war, and U.S. public officials
       facilitated it, committing treason among other crimes. That is motive to target me, and a
       fact for the jury to determine. The House Intelligence Committee almost sees it. They think
       it was leaked on accident, not released on purpose. Why has the Attorney General not
       looked into it? Treason, involved. Why are the US Attorneys claiming facts are delusions?
       Treason, involved.” 12/20/23 Letter at PageID.436 (Dkt. 82).

      (Addressed to “Lloyd Austin”): “There are occurrences that seem to be lined up with events
       in my life that are hard to ignore. The arrest of Epstein or the disappearance of the Queen
       of England on my birthday; the former Pope’s death on Dec. 31, 2021 and the expiration
       of the second Letter of Marquis triggering the reprisal; your ‘complication’ of an elective
       surgery on December 31, 2023. I wonder if you were moved to the ICU on January 5th
       when I was told to leave Michigan where I would be arrested in Texas, which I knew was
       coming. I can’t let you all know everything I know when I know it, otherwise things change
       and the outcome [sic] hard to track. I suspected that the Master of puzzles was either you
       or Emory Tate Jr., the one who falls but not by human hands.” 1/11/24 Letter at PageID.463
       (Dkt. 86).
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According to Carpenter, The Kingdom of Heaven occupies 9-square miles in Michigan. Id. at 206.

Carpenter, as the ruler of this sovereign, is known as the “King of Israel.” Id. at PageID.205.

       Carpenter testified that he sent a 15-page document that he titled a “declaration of

sovereignty” to several heads of state, including the President of the United States, the U.S. House

of Representatives, the U.S. Senate, the Governor of Michigan, the United Nations, and two

foreign states. See 12/11/23 Hr’g Tr. at 83. Carpenter insists that the State Department and the

President are aware of his claims of sovereignty, and he testified that, on the day he circulated his

declaration, the first of three military helicopters intentionally flew over his house. Id. at 84.

Carpenter believes that by failing to dispute his declaration, the Government has assented to his

sovereignty. Id. at 85. Carpenter argues that the Court lacks personal jurisdiction over him

because he is the head of state of a foreign nation. See, e.g., 1/23/24 Mot. to Dismiss at PageID.485

(Dkt. 89).

       Based on the testimony of Dr. Nybo and Carpenter, as well as Carpenter’s pro se filings,

the Court finds by a preponderance of the evidence that Carpenter is currently suffering from a

mental disease or defect rendering him not competent to stand trial at this time.

                                        II.     ANALYSIS

       “It is well established that the Due Process Clause of the Fourteenth Amendment prohibits

the criminal prosecution of a defendant who is not competent to stand trial.” Medina v. California,

505 U.S. 437, 439 (1992). The test for competency is whether the defendant has (i) “a rational as

well as factual understanding of the criminal proceedings against him” and (ii) “a sufficient present

ability to consult with his counsel with a reasonable degree of rational understanding.” United

States v. Dubrule, 822 F.3d 866, 875 (6th Cir. 2016) (quoting Dusky v. United States, 362 U.S.

402, 402 (1960)). If the court finds “by a preponderance of the evidence that the defendant is



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presently suffering from a mental disease or defect rendering him mentally incompetent to the

extent that he is unable to understand the nature and consequences of the proceedings against him

or to assist properly in his defense,” the defendant must be committed to the custody of the

Attorney General, who will “hospitalize the defendant for treatment in a suitable facility.” 18

U.S.C. § 4241(d).

        “[T]he bar for incompetency is high.” United States v. Miller, 531 F.3d 340, 350 (6th Cir.

2008). In determining competence, the Court should consider “several factors, including evidence

of a defendant’s irrational behavior, [the defendant’s] demeanor at trial, and any prior medical

opinion on competence to stand trial.” Id. at 348 (punctuation modified). Ultimately, there are no

factors or thresholds that, if met, will conclusively determine incompetency. Cowans v. Bagley,

639 F.3d 241, 247 (6th Cir. 2011) (“‘There are, of course, no fixed or immutable signs’ of

incompetence, the standard is a high one, and the relevant factors—‘evidence of a defendant's

irrational behavior, his demeanor at trial, and any prior medical opinion on competence’—‘are

difficult to evaluate.’”) (quoting Drope v. Missouri, 420 U.S. 162, 180 (1975)).

        The Court first addresses the threshold question of whether Carpenter is presently suffering

from a mental disease or defect. Finding that Carpenter is presently suffering from delusional

disorder, the Court then analyzes the two-prong test for competency. Because the Court finds that

Carpenter cannot consult with his lawyer with a reasonable degree of rational understanding, the

Court finds that Carpenter is not fit to stand trial.




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    A. Mental Disease or Defect

        Dr. Nybo found that Carpenter meets the diagnostic criteria for “delusional disorder,

 grandiose and persecutory types.” See Nybo Competency Evaluation at 7. The Government

 agrees with Dr. Nybo’s diagnosis, see Gov. Suppl. Br. at 2, but the defense argues that Dr. Nybo’s

 diagnosis relies on unsubstantiated assumptions, see Def. Proposed Findings of Fact and

 Conclusions of Law (PFFCL) at 14. As explained below, the Court adopts the findings of Dr.

 Nybo and concludes that Carpenter is presently suffering from delusional disorder.

        The Diagnostic and Statistical Manual of Mental Disorders (DSM) defines delusions as

 “fixed beliefs that are not amenable to change in light of conflicting evidence.” Diagnostic &

 Statistical Manual of Mental Disorders, 5th ed. (2013). As explained by Dr. Nybo, “[t]he grandiose

 type [of delusional disorder] applies when the central theme involves a conviction of having a

 great talent or insight, while the persecutory type involves a belief of being conspired against,

 maliciously maligned, harassed, followed, poisoned or drugged.” Nybo Competency Evaluation

 at 7. Carpenter’s beliefs—including a belief that Pfizer, Israel, and the federal government have

 targeted him for exposing that the COVID-19 was being used illegally—constitute both grandiose

 and persecutory delusions.

        The defense argues that the lack of conflicting evidence available to disprove Carpenter’s

 theories precludes a finding that his beliefs are delusional. See Def. PFFCL at 14. But the defense

 cites no cases supporting such an argument, and this Court is aware of none. In fact, courts have

 found defendants to suffer from delusions without pointing to any conflicting evidence that was

 presented to the defendant or the court. See, e.g., United States v. Franklin, No. 7:19-mj-2, 2020

 WL 748181, at *4 (E.D. Ky. Feb. 14, 2020) (finding that the defendant had an “immutable

 attachment to non-reality based beliefs”—including an alleged relationship with celebrity Katy



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 Perry—and was unable “to critically assess those beliefs when challenged” without stating what,

 if any, evidence was presented to the defendant or the court); United States v. Rodman, 446 F.

 Supp. 2d 487, 493–494 (D.S.C. 2006) (finding that defendant who believed “he [wa]s being

 persecuted by an interconnected group of governmental agencies . . . as the result of his expression

 of his unpopular political views” suffered from “delusional beliefs” that rendered him not

 competent to stand trial without any discussion of conflicting evidence presented to the defendant

 or the court).

         The Court concludes that there is no legal requirement that Carpenter had to be presented

 with conflicting evidence in the face of which he remained unshaken in his beliefs. And any such

 requirement would be unwise, as it would give a defendant an easy way to avoid an incompetency

 finding by the simple expedient of refusing an evaluation. The Court also concludes that there is

 no legal requirement that this Court must be presented with evidence that conflicts with

 Carpenter’s beliefs. Any such requirement would be unworkable, as it would put the Government

 to the impossible task of disproving the vast conspiracy Carpenter imagines. And how exactly that

 would be done is not laid out by the defense. All that is required is an examination of the record

 to determine whether Carpenter’s beliefs are so significantly beyond the pale of plausibility as to

 constitute delusions. An examination of the record confirms just that.

         Carpenter’s fixed belief system is not simply a view about how the world operates; it is

 about how he has uncovered an evil partnership that has now decided to eliminate him to protect

 itself. And the belief system is built on a long list of plainly bizarre undertakings. As described

 above, Carpenter believes that the State Department sponsored a QAnon website that was

 specifically designed to make Carpenter look like he had an interest in child pornography and trick

 him into clicking links for suicide prevention hotlines. See 12/11/23 Hr’g Tr. at 32–33. According



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 to Carpenter, this was part of the State Department’s plan to kill him and make it look like a suicide

 attempt. Id. Carpenter also believed that his girlfriend of eight years was “assigned to [him]” by

 the CIA and “offered a promotion to mentally break” him before he could expose that the COVID-

 19 vaccine is illegal. See Gov. Suppl. Exs. at PageID.197. And as previously mentioned,

 Carpenter testified that after circulating his declaration of sovereignty, three military helicopters

 flew over his house. See 12/11/23 Hr’g Tr. at 84–85. The defense admits that it is “without dispute

 that [Carpenter] believes he is being targeted by the government—i.e., ‘persecuted’—for his []

 beliefs and actions.” Def. PFFCL at 15.

        The sense of grandiosity and persecution reflective in Carpenter’s views separates him

 from others who hold conspiratorial views about COVID-19. Many have questioned the origins

 of the disease and the motivations of governments and pharmaceutical companies in responding

 to it. But it is the grandiosity and persecution complex that transforms Carpenter from a conspiracy

 theorist without mental health challenges into a deluded one. As Dr. Nybo’s report explains,

 “unlike those who subscribe to conspiracy theories, individuals with persecutory delusions are

 almost always the individual target of the presumed conspiracy and their delusions are typically

 idiosyncratic beliefs based on subjective experience and not shared by others.” Nybo Competency

 Evaluation at 7. Unlike the “many, many Americans” with similar beliefs regarding the COVID-

 19 vaccine, Def. Resp. to Gov. Mot. at PageID.54 (Dkt. 21), Carpenter believes that he is being

 specifically targeted for sharing those beliefs. Even the defense concedes that “it strains credulity

 to assert that so many actors on the world stage are personally aware of and active in attempting

 to suppress [Carpenter].” Def. PFFCL at 15–16. This is where Carpenter’s beliefs cross the line

 from conspiracy theories to delusions.




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         These exceedingly implausible beliefs are not incidental or marginal in his life. They

 dominate his thinking. See, e.g., Nybo Competency Evaluation at 9 (explaining that Carpenter is

 “fixated on his delusional beliefs”).

        Looking at all the evidence, the Court concludes that Carpenter suffers from a delusional

 disorder that amounts to a mental disease or defect.

    B. Understanding of the Proceedings

        The first prong of the Sixth Circuit’s test for competency is whether the defendant has “a

 rational as well as factual understanding of the criminal proceedings against him.” Dubrule, 822

 F.3d at 875. The Government argues that “Carpenter’s delusions impair his ability to rationally

 understand the nature and consequences of the court proceedings against him and to assist in his

 defense.” Gov. PFFCL at 14. The defense, on the other hand, argues that “[b]oth during Dr.

 Nybo’s evaluation and during [Carpenter’s] hearing testimony, [Carpenter] established a

 competent understanding of the nature of the proceedings against him and the roles of the various

 parties to those proceedings, including his defense attorney and this Court.” Def. PFFCL at 14.

        In his report, Dr. Nybo stated that Carpenter seems to have a factual understanding of court

 procedures, but that “his ability to rationally understand the nature and consequences of the court

 proceedings against him is impaired.” Nybo Competency Evaluation at 8. When asked to

 elaborate on this finding during the competency hearing, Dr. Nybo explained that Carpenter

 “understands the roles of the courtroom participants. He understands the role of the judge. He’s

 written many motions and letters to the judge. He understands what the prosecutor’s role is as

 well as his defense counsel’s role.” 12/11/23 Hr’g Tr. at 40. But at the same time, Dr. Nybo

 explained that while Carpenter “understands he’s charged with making a threat,” he believes he

 “had the right to do so,” and that once he exposes the corruption of Pfizer and the Israeli



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 government, any jury would “exonerate him” so he “wouldn’t really face any consequences to [the

 threat].” Id.

         Carpenter testified that he understands that he has been charged with making threats over

 interstate communication and that a competency evaluation was being conducted. Id. at 65. He

 stated on the record that he was able to follow what was happening during the first competency

 hearing. Id. at 66. He also took notes and asked his defense counsel to ask certain questions of Dr.

 Nybo. Id. Carpenter spoke clearly about the roles of his defense attorney, the prosecuting

 attorneys, and the judge. Id.

        After considering all available evidence, the Court is unable to conclude that Carpenter

 does not have a rational understanding of the proceedings against him. Carpenter appears to

 understand our judicial system, the roles of the attorneys and the judge, and the crime with which

 he has been charged. His optimism that a jury will exonerate him does not necessarily amount to

 an irrational understanding of the proceedings, even if it is based on a delusional belief. Taking

 all of the above into account, the Court finds that Carpenter has a rational understanding of these

 proceedings.

        Nevertheless, the Court finds that Carpenter is not competent to stand trial because he is

 unable to assist in his defense, as explained below.

    C. Ability to Assist in Defense

        With respect to the second prong, Dr. Nybo found that Carpenter will not be able to

 rationally assist his counsel with his defense. See Nybo Competency Evaluation at 9. The

 Government agrees with Dr. Nybo, arguing that “Carpenter’s ability to consult with counsel is

 entirely informed by his delusions, and thus impair[s] his ability to assist in his defense.” Gov.

 PFFCL at 15. Defense counsel offered little argument to the contrary, discussing Carpenter’s



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 ability to assist with his defense in its proposed findings of fact and law only briefly. For the

 reasons that follow, the Court agrees with Dr. Nybo and the Government.

        Courts have noted that the requirement that a defendant be able to assist in his own defense

 is less often discussed in case law than the requirement that a defendant understand the nature of

 the proceedings against him, but it remains an analytically distinct requirement for competency.

 See, e.g., United States v. Salley, 246 F. Supp. 2d 970, 977 (N.D. Ill. 2003) (“[W]hether [a]

 defendant has sufficient present ability to consult with his lawyer with a reasonable degree of

 rational understanding . . . though less frequently focused on in the case law, adds independent

 content to the judicial inquiry beyond the [other] . . . factor.”) (punctuation modified); United

 States v. Roberson, No. 3:21-cr-50041-1, 2023 WL 3305132, at *7 (N.D. Ill. May 8, 2023) (“The

 two prongs of the competency test—understanding the proceedings and assisting in one's

 defense—are analytically distinct.”).

        The Seventh Circuit has explained that “[a] defendant's role in assisting counsel in his own

 defense is to recognize and relate relevant information to counsel and make the few trial-related

 decisions reserved for defendants (i.e., whether to plead guilty, whether to request a jury trial,

 whether to be present at trial, and whether to testify”). Newman v. Harrington, 726 F.3d 921, 935

 (7th Cir. 2013) (punctuation modified). Cooperation with counsel has been described as “the

 capacity to provide whatever assistance counsel requires in order to explore and present an

 adequate defense.’” Salley, 246 F. Supp. 2d at 977 (N.D. Ill. 2003) (quoting R. Bonnie, “The

 Competence of Criminal Defendants: Beyond Dusky and Drope,” 47 U. Miami L. Rev. 539, 552

 (1993) and Dusky, 362 U.S. at 402).

        These principles are illustrated in United States v. Krueger, No. 13-cr-561, 2017 WL

 2349600, at *1 (N.D. Ohio May 31, 2017), where a defendant suffering from a delusional



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 disorder—believing that his adoptive parents abused him, despite no reports of abuse by any

 doctors or social agencies—was found to lack the ability to assist in his own defense. See Krueger,

 2017 WL 2349600, at *1–*2. The court explained that “[a] delusion . . . necessarily means that

 [defendant’s] decision making process will be irrevocably altered by his mental illness” and that

 “[defendant’s] testimony would be in constant danger of becoming prejudiced or self-

 incriminating solely on the basis of his mental illness.” Id. at *2. The court also emphasized that

 “[defendant’s] beliefs will almost certainly never change despite all evidence to the contrary.” Id.

        Considering these principles, the Court finds that Carpenter lacks the ability to assist in his

 own defense. First and most important, Carpenter’s delusional disorder will prevent him from

 developing a defense strategy based on anything other than his delusions. Carpenter’s fixation on

 his jurisdictional argument is particularly troublesome, as demonstrated by his numerous pro se

 filings. Carpenter has filed at least five pro se motions arguing that the Court lacks personal

 jurisdiction over him, an argument which is based on Carpenter’s delusional belief that he is the

 ruler of a sovereign nation.4 He has also filed an appeal—ultimately dismissed—attempting to

 raise the jurisdictional issue. See 4/2/24 Order from U.S. Court of Appeals – Sixth Circuit (Dkt.

 111). Carpenter has maintained this position despite explanations from his attorney that it is not

 a good defense at law. See, e.g., 12/11/23 Hr’g Tr. at 69. This leads the Court to believe that

 Carpenter will continue to fixate on his jurisdictional defense.

        At the second competency hearing, Nogues stated on the record that he and Carpenter had

 discussed other defenses in addition to Carpenter’s jurisdictional argument. But Nogues declined




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   For motions referencing Carpenter’s jurisdictional argument, see, e.g., 7/18/23 Mot. (Dkt. 50);
 11/21/23 Mot. (Dkt. 67), 12/14/23 Mot. (Dkt. 80), 1/23/24 Mot. (Dkt. 89), 2/13/24 Mot. (Dkt. 93).
 Carpenter also references his jurisdictional argument in numerous letters filed with the Court. See,
 e.g., 12/12/23 Letter (Dkt. 79), 12/27/23 Letter (Dkt. 84), 3/12/24 Letter (Dkt. 103).
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 to state what these defenses were; he also failed to state that Carpenter would entertain defenses

 other than jurisdiction.

         There is evidence in the record that Carpenter might entertain a defense based on self-

 defense, having told Dr. Nybo that “it was lawful to use deadly force in Michigan against those

 who have committed a felony and are subject to arrest” (referencing Michigan officials who

 claimed that the vaccine is safe and effective). See Nybo Competency Evaluation at 4. Carpenter

 also testified that he would claim self-defense, forcing the Government “to prove that the people

 that I’m claiming are responsible are not in fact responsible for committing felonies and you’re

 not going to be able to do that ‘cause they are.” 12/11/23 Hr’g Tr. at 93–94. But this “defense” is

 premised on Carpenter’s delusional belief that he was a target of the vast conspiracy, which

 justified his use of threats. No valid defense for threats made to Jewish members of the Michigan

 government could be mounted based on a conspiracy theory that Carpenter has been targeted.

         Second, the Court is concerned that Carpenter would be unable to work with any counsel

 appointed to him, not just Nogues. Dr. Nybo testified regarding his belief that “if defense counsel

 does not go along with [Carpenter’s] delusional beliefs . . . then [] he’ll fire whatever attorney he’s

 being represented by.” 12/11/23 Tr. at 41. Dr. Nybo explained that in his experience, Carpenter’s

 conflict with Nogues is different from that of many defendants who are sent to him for evaluation

 but are not suffering from a present disease or defect. Id. at 42. According to Dr. Nybo, the fact

 that Carpenter is suffering from delusions affects his ability to develop rational strategies for trial,

 which separates him from other defendants who have conflicts with their attorneys but are still

 able to strategize rationally. Id. at 43.

         In sum, the Court does not think Carpenter, in his current state of mental health, will be

 able to rationally assist his counsel.



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                                      III.    CONCLUSION

        For the foregoing reasons, the Court finds that Carpenter is not fit to stand trial and should

 be committed to the custody of the Attorney General for further evaluation and treatment. The

 parties must submit to the Court, within 14 days of this opinion and order, a proposed order to

 accomplish that. If they cannot agree on the form of the order, the Government must file a motion

 for entry of a proposed order within the 14-day period; the defense must file a response within 14

 days thereafter.

        SO ORDERED.

 Dated: May 10, 2024                                  s/Mark A. Goldsmith
        Detroit, Michigan                             MARK A. GOLDSMITH
                                                      United States District Judge




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